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                                                                        May 16,2013
       Colorado Department of Public Safety
       Executive Director James H. Davis
       700 Kipling Street, 3rd Floor
       Denver CO 80215

       RE:    Technical Guidance on the Interpretation and Application of House Bill13-
              1224, Large-Capacity Magazine Ban

       Dear Executive Director Davis:

       House Bill13-1224, which was passed during this year's legislative session and
       becomes effective July 1, 2013, prohibits the sale, transfer, and possession of "large-
       capacity ammunition magazines." On March 20, 2013, in a statement issued at the
       time he signed HB 13-1224 into law, Governor Hickenlooper instructed "the
       Colorado Department of Public Safety to consult with the Office of the Attorney
       General and others, as necessary ... and then to draft and issue, to law
       enforcement agencies in the State of Colorado, technical guidance on how the law
       should be interpreted and enforced."

       This letter sets forth the technical guidance requested by the Governor.

       Introduction

       This technical guidance, issued at the request of the Governor, is meant to assist
       Colorado law enforcement agencies in understanding and applying portions of
       House Bill13-1224, which regulates the sale, transfer, and possession of "large
       capacity magazines." Although this guidance is not binding on the courts, it is based
       upon existing legal principles and represents a fair and accurate reading of the
       legislation.

       Definition of"Large Capacity Magazine"

       Under House Bill 1224, the term "large capacity magazine" is defined, in part, as
       follows: "a fixed or detachable magazine, box, drum, feed strip, or similar device
       capable of accepting, or that is designed to be readily converted to accept, more than
       fifteen rounds of ammunition."


                                                                        Exhibit B
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    The phrase "designed to be readily converted to accept more than fifteen rounds of
    ammunition" has prompted questions regarding the scope of the definition,
    particularly because some ammunition magazines include features, such as
    removable baseplates, that can be removed and replaced, or otherwise altered, so
    that the magazine accepts more than fifteen rounds.

    The term "designed," when used as a modifier, denotes a feature that meets a
    specific function. This suggests that design features that fulfill more than one
    function, and whose function is not specifically to increase the capacity of a
    magazine, do not fall under the definition. The features of a magazine must be
    judged objectively to determine whether they were "designed to be readily converted
    to accept more than fifteen rounds."

    Under this reading of the definition, a magazine that accepts fifteen or fewer rounds
    is not a "large capacity magazine" simply because it includes a removable baseplate
    which may be replaced with one that allows the magazine to accept additional
    rounds. On many magazines, that design feature is included specifically to permit
    cleaning and maintenance. Of course, a magazine whose baseplate is replaced with
    one that does, in fact, allow the magazine to accept more than fifteen rounds would
    be a "large capacity magazine" under House Bill 1224.

    "Possession" of Large-Capacity Magazines and Application of the
    Grandfather Clause of House Bill 1224

    House Bill 1224 also places limitations on when and how a large-capacity magazine
    may be sold, transferred, or possessed. In particular, the bill's grandfather clause
    permits possession of a large-capacity magazine on or after July 1, 2013 by an
    individual who "owns" such a magazine on that date and "maintains continuous
    possession" of it thereafter. However, the bill prohibits the owner of a large-capacity
    magazine from selling or transferring it after July 1, 2013, and also prohibits an
    individual who as of July 1 did not own and since then has not continuously
    possessed a particular large-capacity magazine to possess it after July 1, 2013.

    Responsible maintenance, handling, and gun safety practices, as well as
    constitutional principles, dictate that these provisions cannot be reasonably
    construed as barring the temporary transfer of a large-capacity magazine by an
    individual who remains in the continual physical presence of the temporary
    transferee, unless that temporary transfer is otherwise prohibited by law. For
    example, an owner should not be considered to have "transferred" a large-capacity
    magazine or lost "continuous possession" of it simply by handing it to a gunsmith,
    hunting partner, or an acquaintance at a shooting range with the expectation that it
    will be promptly returned. Likewise, a gunsmith, hunting partner, or acquaintance
    at a shooting range who acquires temporary physical custody of a large-capacity
    magazine from its owner should not be considered in "possession" of the magazine
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    so long as he or she remains in the owner's physical presence. However, it would be
    unreasonable to construe the bill or this guidance to exempt a temporary transfer of
    a large-capacity magazine in connection with criminal activity.

    For similar reasons, the bill's requirement that an owner must maintain
    "continuous possession" in order to ensure the application of the grandfather clause
    cannot reasonably be read to require continuous physical possession. Proper storage
    of a large-capacity magazine, such as in a gun safe in the owner's home or in a
    secure carrying case in the trunk of an automobile, is entirely consistent with the
    bill's intent of limiting the acquisition and permanent transfer oflarge-capacity
    magazines after the effective date of July 1, 2013.

                                         Sincerely,
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                                         _0\llorado Attorney General
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    cc:   Governor John Hickenlooper
          Jack Finlaw, Chief Legal Counsel to Governor Hickenlooper
